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                            IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF ARKANSAS

GREGORY HOUSTON HOLT,                                          ----
                                                 Case No. 19-cv-
Inmate# 129616;
                                                 VERIFIED COMPLAINT FOR
RODNEY MARTIN, Inmate # 132396; and,             DECLARATORY, INJUNCTIVE, AND
                                                 MONETARY RELIEF
WAYDE STEWART, Inmate# 065252;
                                                 JURY TRIAL DEMANDED
           Plaintiffs,

v.
                                                   5: 19 - CV - 81 - BSM -JTK
WENDY KELLEY, Director,
Arkansas Department of Correction, in her
official capacity only;
                                                    This case assigned to District Judge   M, Ifi f     _
DALE REED, Chief Deputy Director,
Arkansas Department of Correction, in his
                                                    and to Magistrate Judge   J/ep.r'"
official capacity only;



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DEXTER PAYNE, Deputy Director of
Institutions, Arkansas Department of
Correction, in his official and individual
capacities;

JOSHUA MAYFIELD, Administrator of
Religious Services, Arkansas Department of
Correction, in his official capacity only;

AUNDREA CULCLAGER, Warden, Tucker
Maximum Security Unit, Arkansas Department
of Correction, in her official and individual
capacities;

TOMMY BOURGEOIS, Chaplain, Tucker
Maximum Security Unit, Arkansas Department
of Correction, in his official and individual
capacities;

DANNY BURL, fonner Warden, Tucker
Maximum Security Unit, Arkansas Department
of Correction, in his individual capacity only;

DEANGELO EARL, Warden, Grimes Unit,
Arkansas Department of Correction, in his
individual capacity only;

TOM BRADSHAW, Chaplain, Grimes Unit,
Arkansas Department of Correction, in his
individual capacity only;

BILLY STRAUGHN, Warden, Cummins
Unit, Arkansas Department of Correction, in his
individual capacity only; and,

JIM BABCOCK, Chaplain, Cummins Unit,
Arkansas Department of Correction, in his
official and individual capacities;

         Defendants.




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                               COMPLAINT FOR
                DECLARATORY, INJUNCTIVE, AND MONETARY RELIEF

         Plaintiffs GREGORY HOUSTON HOLT a/k/a ABDUL MAALIK MUHAMMAD,

Inmate# 129616; RODNEY MARTIN, Inmate# 132396; and WAYDE STEWART, Inmate#

065252 (collectively "Plaintiffs"), by and through their undersigned counsel, CAIR LEGAL

DEFENSE FUND ("CAIR") and MR. DOUGLAS LAYCOCK, ESQ., file this Complaint for

Declaratory, Injunctive, and Monetary Relief against Arkansas Department of Correction ("ADOC")

officials, Defendants Wendy Kelley, Dale Reed, Dexter Payne, Joshua Mayfield, Aundrea Culclager,

Tommy Bourgeois, Danny Burl, DeAngelo Earl, Tom Bradshaw, Billy Straughn, and Jim Babcock

(collectively "Defendants").    The Complaint alleges violations of the First and Fourteenth

Amendments to the United States Constitution and the Religious Land Use and Institutionalized

Persons Act of 2000 ("RLUIPA"), 42 U.S.C. § 2000cc et seq., pursuant to 42 U.S.C. § 1983 and

Defendants' failure to accommodate Plaintiffs' sincere Muslim practices.

                                            Introduction

         1.      The Arkansas Department of Correction ("ADOC") has long struggled to

accommodate the religious exercise of its Muslim inmates.         Despite decades of litigation and

grievances regarding its failure to accommodate basic Islamic religious practices - including Friday

prayer services (known as Jumu'ah 1 prayer), growing beards, and wearing kuftl -ADOC continues to

fail to provide Muslim inmates with the basic and necessary accommodations to practice their faith.

         2.     Just as other religious faith backgrounds, including Christianity and Judaism, command

their adherents to observe an end-of-the-week holy day through congregational prayer and spirituality


    1 Jumu'ah prayer is a congregational prayer followed by a sermon, called a khutbah, performed by

Muslims on Fridays just after noon. Spelling and italics of Arabic words has been updated throughout
this Complaint for consistency.

   2   A kufi is a brimless, short, and rounded cap worn by Muslim men.


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(known in Christianity and Judaism as the Sabbath), Muslims are commanded to observe Fridays

through congregational prayer and spirituality. Moreover, just as Christian Sunday services are led by

a priest or pastor and Jewish Sabbath services by a rabbi,Jumu'ah prayers are led by an imam.

        3.       However, ADOC has unlawfully prevented its Muslim inmates, including Plaintiffs,

from observing Jumu'ah prayers in accordance with their sincerely-held beliefs. ADOC is forcing

Plaintiffs and other Muslims to hold a combined religious service (in addition to religious study groups

and other religious programming) with other religious faith groups -namely,Nation oflslam ("NOi")

and Five-Percent Nation/Nation of Gods and Earths ("NGE").

        4.       Accordingly, ADOC has forced Plaintiffs and other Muslim inmates to violate their

sincerely-held religious beliefs. ADOC gives them the choice to attend a combined religious service

led by other faith groups, or not attend any religious services at all. Neither scenario - according to

their sincerely-held religious beliefs - fulfills their religious obligations. 3 No inmate should be forced

by a state correctional institution to violate their religious beliefs.

        5.       All three Plaintiffs sincerely believe that attending a religious service led by a different

faith group is a violation of their core religious principles.

        6.       Two of the Plaintiffs - Mr. Martin and Mr. Stewart - have been forced to choose to

attend the weekly combined religious services because they felt compelled to do so to maintain their

designations as Muslim and to preserve their rights to other religious accommodations, such as

participating in the Ramadan meal program. Mr. Holt, on the other hand, has chosen not to attend

the combined religious services in accordance with his sincerely-held religious beliefs; and, as a result,

in 2017 he was forced to sacrifice other religious accommodations.



    3 Requiring Muslims to attend religious services led by adherents of the NOi or NGE is akin to
requiring Christians to attend religious services led by a Jewish rabbi, or Jews to attend religious
services led by a Christian priest.


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        7.      Unsurprisingly, no other faith groups, including a variety of Christian denominations,

are forced to choose between attending religious services led by other faith groups, or to forego

religious obligations to worship altogether. In fact, many Christian denominations are permitted by

Defendants to hold and attend their own separate religious services.

        8.      Defendants have also prevented Plaintiffs from wearing kufis in accordance with their

sincerely-held religious beliefs. Plaintiffs may be subjected to discipline if they wear kufis without

Defendants' permission.

        9.      Defendants have imposed policies that substantially burden the rights of Plaintiffs to

their free exercise of religion by means that are not the least restrictive, that discriminate against

Plaintiffs on the basis of their religious denomination, and that treat Plaintiffs on less than equal terms

than other similarly-situated religious groups.

        10.     Moreover, Defendants have not identified any compelling government interest for

denying Plaintiffs and other Muslim inmates their right to separate religious congregational services

and separate religious study groups, or for denying their right to wear kufis in accordance with their

sincerely-held religious beliefs.

        11.     ADOC previously lost a religious accommodation lawsuit brought by Plaintiff Holt

regarding the denial of his right to grow a beard; ADOC was required by the United States Supreme

Court to permit Plaintiff Holt to grow a religious beard See Holt v. Hobbs, 135 S.Ct. 853 (2015).

        12.     Holt v. Hobbs has since become landmark precedent elevating religious protections for

prisoners of all faiths nationwide.     Its precedent governs here, requiring Defendants to permit

Plaintiffs to attend separate Islamic religious services and to wear kufis.

                                       Jurisdiction and Venue

        13.     1bis is an action for declaratory, monetary, and injunctive relief arising under the First

and Fourteenth Amendments to the U.S. Constitution, RLUIPA, and 42 U.S.C. § 1983.


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        14.    1bis Court has federal question jurisdiction over Plaintiffs' claims of violations of the

U.S. Constitution and RLUIPA pursuant to 28 U.S.C. § 1331 and 42 U.S.C. § 1983.

        15.     Plaintiffs' claims for declaratory and injunctive relief are sought under 28 U.S.C. §§

2201 and 2202, 28 U.S.C. § 1343, Rules 57 and 65 of the Federal Rules of Civil Procedure, and the

general legal and equitable powers of this Court.

        16.     Plaintiffs' claims for monetary relief are sought under the First and Fourteenth

Amendments to the U.S. Constitution and 42 U.S.C. § 1983.

        17.     Plaintiffs' claims for attorneys' fees and costs are predicated upon 42 U.S.C. § 1988,

which authorizes the award of attorneys' fees and costs to prevailing parties under 42 U.S.C. § 1983

andRLUIPA.

        18.     1bis Court has personal jurisdiction over Defendants because Defendants reside and

conduct business in the State of Arkansas.          The Arkansas Department of Corrections is an

"institution" within the meaning of 42 U.S.C. § 2000cc-1(a) and 42 U.S.C. § 1997.

        19.     Venue is proper under 42 U.S.C. § 1391 because all Defendants operate within the

geographical boundaries of the State of Arkansas, and a substantial part of the acts described herein

occurred within this District.

                                              Plaintiffs

        20.     Plaintiff Gregory Houston Holt a/k/ a Abdul Maalik Muhammad is an individual, a

male, a Muslim, and an inmate (# 129616) currently housed at the Tucker Maximum Security Unit

within the Arkansas Department of Correction. Holt previously resided at the Cummins Unit and

other Department facilities. Holt is a "person residing in or confined to an institution" as the term is

defined in 42 U.S.C. § 2000cc-1(a). Holt previously litigated a successful religious challenge to an

Arkansas Department of Correction grooming policy which forbade beards. See Holt v. Hobbs, 135

S.Ct. 853 (2015).


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        21.     Plaintiff Rodney Martin is an individual, a male, a Muslim, and an inmate (# 132396)

currently housed at the Tucker Maximum Security Unit within the Arkansas Department of

Correction. Martin was recently transferred to the Tucker Maximum Security Unit from the Grimes

Unit; he has also resided at multiple other Department facilities. Martin is a "person residing in or

confined to an institution" as the term is defined in 42 U.S.C. § 2000cc-1(a).

        22.     Plaintiff Wayde Stewart is an individual, a male, a Muslim, and an inmate(# 065252)

currently housed at the Tucker Maximum Security Unit within the Arkansas Department of

Correction. Stewart was recently transferred to the Tucker Maximum Security Unit from the Grimes

Unit; he has also resided at multiple other Department facilities. Stewart is a "person residing in or

confined to an institution" as the term is defined in 42 U.S.C. § 2000cc-1(a).

                                             Defendants

        23.     Defendant Wendy Kelley is the Director of ADOC. Defendant Kelley is the ultimate

decision-maker with authority to approve all ADOC policies, procedures, and operations, including

religious accommodation policies. Defendant Kelley is being sued in her official capacity only.

        24.     Defendant Dale Reed is the Chief Deputy Director of ADOC. Defendant Reed is a

decision-maker with authority to approve ADOC policies, procedures and operations, including

religious accommodation policies, at Cummins Unit and Tucker Unit, facilities where each of the three

Plaintiffs resided. Defendant Reed is being sued in his official capacity only.

        25.     Defendant Dexter Payne is the Deputy Director oflnstitutions of ADOC. Defendant

Payne is a decision-maker with authority to approve ADOC policies, procedures, and operations,

including religious accommodation policies, at Grimes Unit and Tucker Unit, facilities where Plaintiffs

Martin and Stewart resided. Defendant Payne is being sued in his official and individual capacities.

        26.     Defendant Joshua K Mayfield is the Administrator of Religious Services of ADOC.

Defendant Mayfield is a decision-maker with authority to approve all religious accommodation


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policies, procedures, and operations, including programming and religious services at ADOC facilities.

Defendant Mayfield is being sued in his official capacity only.

        27.     Defendant Aundrea Culclager is the Warden of the Tucker Maximum Security Unit,

ADOC. Defendant Culclager is a decision-maker with authority to approve all policies, procedures,

and operations at Tucker Maximum Security Unit. Defendant Culclager is also responsible for making

the ultimate decision on all grievances filed by inmates that reside at Tucker Maximum Security Unit.

Defendant Culclager personally discriminated against Plaintiffs Martin and Stewart.        Defendant

Culclager is being sued in her official and individual capacities.

        28.     Defendant Tommy Bourgeois is the Chaplain at the Tucker Maximum Security Unit,

ADOC. Defendant Bourgeois is a decision-maker with authority to approve all religious policies,

procedures, and operations at Tucker Maximum Security Unit.            Defendant Bourgeois is also

responsible for making decisions on all grievances that concern religious policies, procedures, and

operations filed by inmates that reside at Tucker Maximum Security Unit. Defendant Bourgeois

personally discriminated against Plaintiffs Holt, Martin, and Stewart. Defendant Bourgeois is being

sued in his official and individual capacities.

        29.     Defendant Danny Burl was the former Warden of the Tucker Maximum Security Unit,

ADOC. Defendant Burl was a decision-maker with authority to approve all policies, procedures, and

operations at Tucker Maximum Security Unit. Defendant Burl was also responsible for making the

ultimate decision on all grievances filed by inmates that reside at Tucker Maximum Security Unit.

Defendant Burl personally discriminated against Plaintiff Holt. Defendant Burl is being sued in his

individual capacity only.

        30.     Defendant DeAngelo Earl is the Warden of the Grimes Unit, ADOC. Defendant Earl

is a decision-maker with authority to approve all policies, procedures, and operations at Grimes Unit.

Defendant Earl is also responsible for making the ultimate decision on all grievances filed by inmates


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that reside at Grimes Unit. Defendant Earl personally discriminated against Plaintiffs Martin and

Stewart. Defendant Earl is being sued in his individual capacity only.

        31.     Defendant Tom Bradshaw is the Chaplain at the Grimes Unit, ADOC. Defendant

Bradshaw is a decision-maker with authority to approve all religious policies, procedures, and

operations at Grimes Unit. Defendant Bradshaw is also responsible for making decisions on all

grievances that concern religious policies, procedures, and operations filed by inmates that reside at

Grimes Unit. Defendant Bradshaw personally discriminated against Plaintiffs Martin and Stewart.

Defendant Bradshaw is being sued in his individual capacity only.

        32.     Defendant Billy Straughn is the Warden of the Cummins Unit, ADOC. Defendant

Straughn is a decision-maker with authority to approve all policies, procedures, and operations at

Cummins Unit. Defendant Straughn is also responsible for making the ultimate decision on all

grievances filed by inmates that reside at Cummins Unit. Defendant Straughn personally discriminated

against Plaintiff Holt. Defendant Straughn is being sued in his individual capacity only.

        33.     Defendant Jim Babcock is the Chaplain at the Cummins Unit, ADOC. Defendant

Babcock is a decision-maker with authority to approve all religious policies, procedures, and

operations at Cummins Unit. Defendant Babcock is also responsible for making decisions on all

grievances that concern religious policies, procedures, and operations filed by inmates that reside at

Cummins Unit. Defendant Cummins personally discriminated against Plaintiff Holt. Defendant

Babcock is being sued in his individual capacity only.

    Islam, Nation oflslam and Nation of Gods and Earth are Different Faith Traditions

        34.     Islam, Nation of Islam, and the Nation of Gods and Earth (also known as the Five-

Percent Nation), are three different faith traditions.

        35.     Islam is a global religion founded by the Prophet Muhammad on the Arabian

Peninsula in 610 A.D.      Islam teaches that the Prophet Muhammad was the final prophet and


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messenger of a long line of prophets, that include Abraham, Moses, and Jesus, among others.

        36.      Islam's holy scripture is the Qur'an, as revealed to the Prophet Muhammad.

        37.      Plaintiffs and other Muslims adhere to the sunnah of the Prophet Muhammad, or the

collective body of traditional Muslim practice based on the teachings and actions of the Prophet

Muhammad during his life.

        38.      Islam is estimated to have more than 1.8 billion adherents worldwide.

        39.      The Nation oflslam is a religion founded in 1930 AD. in Detroit, Michigan by Wallace

Fard Muhammad.

        40.      The Nation of Islam teaches that Wallace Fard Muhammad was the incarnation of

God, his successor Elijah Muhammad was a messenger of God, and the black man is God.

        41.      Many of the Nation of Islam's teachings and beliefs are summarized in a 1965 speech

from Elijah Muhammad, Message to the Blackman in America.

        42.      The Nation of Islam is estimated to have approximately 100,000 adherents in the

United States.

        43.      The Nation of Gods and Earth, also known as the Five-Percent Nation, is a religion

founded in 1964 in Harlem, New York. The Nation of Gods and Earth was founded by Clarence

Edward Smith, following a theological dispute between Clarence Edward Smith and Elijah

Muhammad.

        44.      The Nation of Gods and Earth also teaches that the black man is God.

        45.      The Nation of Gods and Earth distributes anthologies, including Knowledge    of Se!f: A
Collection of Wisdom on the Science ofEverything in Lift, about its teachings and beliefs.

        46.      The Nation of Gods and Earth is estimated to have fewer than 50,000 adherents in

the United States.




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     Defendants' Religious Accommodation Policies and their Duties to Provide Muslim
           Inmates Access tojumu'ah Services and Islamic Religious Instruction

        47.      Pursuant to the Arkansas Department of Correction Policy and Procedures Manual

provided by the Chaplaincy Department ("ADOC Religion Manual"), Defendants are required "to

provide for the religious needs of the committed offenders" within the Department. ADOC Religion

Manual, "Purpose of Religious Services," Policy No. 115.

         48.     Further, "[i]t is the policy of the Arkansas Department of Correction to provide those

incarcerated in its care the greatest amount offreedom and opportunity far pursuing individual religious beliefs and

practices as is consistent with safety of inmates and staff, the good order of the institution and accepted

correctional practices." ADOC Religion Manual, "Policy of Religious Services," Policy No. 120

(emphasis added).

         49.     In fact, Defendants must "allow worship opportunities for committed offenders with

an openness to, a recognition of, and respect for, religious differences." ADOC Religion Manual,

"Objectives of Religious Services," Policy No. 130.

         50.     The Chaplain-l (in this case, Defendants Bourgeois, Bradshaw, and Babcock) is

required to be "aware of the different religious beliefs and practices and work in fairness to all."

Religion Manual, "The Function of the Chaplain," Policy No. 220 at E2.

         51.     The Chaplain is also required to "take into consideration the religious background

preferences of the inmates at the Unit/Center and the needs of the population as [free world] groups

are selected [by the Chaplain] to minister to the inmates." ADOC Religion Manual, "Criteria in

Determining Freeworld Groups Permitted Into Unit/Center," Policy No. 310 at B.

         52.     ADOC is required to hire an Islamic Coordinator, who is "responsible for ensuring



    4"The Chaplain is assigned to a unit under the supervision of a Senior Chaplain, Unit Warden,
and Administrator of Religious Services." ADOC Religion Manual, Policy No. 205 at E.


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that Islamic inmates are afforded worship and growth opportunities" and who is tasked with "traveling

on a regular schedule to the various units to counsel with inmates, lead]umu'ah Prayer, Taleem 5 classes,

etc." ADOC Religion Manual, "Positions," Policy No. 205 at B; "Worship" Policy No. 505 at B.

          53.     With regards to Jumu'ah Prayer, the Islamic Coordinator is required to select "inmate(s)

at each unit'' that is knowledgeable of the required [Islamic] prayer ritual," and provided that the

inmates are approved by the Unit Warden, the inmate(s) are responsible for leading the ]umu'ah Prayer.

Religion Manual, ''Jumu'ah," Policy No. 545 at I.A.

          54.     In the event the Islamic Coordinator or approved free world Muslim Volunteer is not

present, the "ritual of Jumu'ah Prayer will be observed followed by a recorded Khutbah." Religion

Manual, '']umu'ah'' Policy No. 545 at II; "Criteria in Determining Freeworld Groups Permitted Into

Unit/Center" Policy No. 310 at D; No. 505 at B; "Religious Services" Policy No. 605 at C.

          55.     Despite its stated commitment to providing for the religious needs of offenders,

ADOC has long struggled to meet the needs of its Muslim population. 1bis includes providing access

to Muslims to attend]umu'ah and Taleem.

          56.     In a 1987 consent decree related to ADOC's failure to provide adequate access to

Islamic services, ADOC agreed (a) "to hire a part-time Muslim Chaplain to provide group Islamic

services for Muslim inmates," (b) to recruit and organize freeworld volunteers of 'NOI' and 'AMM'        6



Muslim denominations to provide additional services;" and, (c) "to voice Islamic concerns within the

chaplaincy program of the ADOC." Blue v. Arkansas Board of Comction, No. 84-cv-551 (E.D. Ark. Aug

31, 1987) (emphasis added). Upon information and belief, the Blue consent decree remains in effect.



    5   Taleem classes are Islamic religious study classes.

    6The acronym "AMM" is not defined anywhere in the consent decree. It appears to be a
reference to another religion, like the Nation of Islam. At present, Plaintiffs are not aware of any
"AMM" practitioners within ADOC, but are aware of adherents to the Nation of Gods and Earth,
also known as the Five-Percent Nation.

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See, e.g., Shabazzv. Norris, No. 5:03-CV-00401, 2007 WL 2819517, at *3 n.3 (E.D. Ark. Sept. 26, 2007)

(recognizing continuing validity of consent decree).

          57.     In the mid-2000s, two Muslim inmates brought two separate challenges related to the

inadequacy ofJumu 'ah services. One case resulted in a pennanent injunction requiring ADOC to offer

access to a pre-recorded khutbah when no live khutbah was available for Jumu 'ah. Shabazz v. Arkansas

Dept.   ef Comction, Case No. 5:03-cv-409 (E.D. Ark. 2005), different issues ajf'd, 268 Fed. Appx. 487 (8th
Cir. 2008). A second case resulted in a pennanent injunction requiring ADOC to let Muslim inmates

read aloud from theQur'an during]umu'ah. Shabazzv. Norris, No. 5:03-CV-00401, 2007 WL 2819517,

at *7 (E.D. Ark. Sept. 26, 2007).

          58.     These injunctions and the Blue consent decree have spurred ADOC policy changes.

                       Defendants' Willful Failure to Provide Muslim Inmates
                              Access to Religious Accommodations

          59.     Defendants have refused to comply with their own stated policies, the injunctions

mentioned above, and the Blue consent decree by willfully failing to provide for the religious needs of

Muslim inmates.

          60.     In fact, Defendants' deliberate indifference and failure to respect the religious

differences between Islam, Nation of Islam ("NOI"), and the Nation of Gods and Earths ("NGE")

has forced Plaintiffs and other Muslim inmates similarly situated to violate their core religious beliefs.

          61.     Instead, ADOC has unlawfully forced Plaintiffs and other Muslim inmates to choose

between attending a combined religious service led by adherents of NOI and/or NGE, or not

attending any religious services at all, although the Blue consent decree explicitly requires ADOC to

provide separate religious services for these separate religious faith groups. Neither attending services

led by another faith nor skipping services fulfills Plaintiffs' religious obligations. The act of attending

a religious service led by a different faith tradition is a violation of each Plaintiff's core religious



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principles.

        62.     If Plaintiffs or any other inmate rmsses multiple Friday services, ADOC policy

removes their designation as "Muslim" and denies their access to other religious accommodations,

including R.amadan 7 meals.

        63.     Two of the Plaintiffs - Mr. Martin and Mr. Stewart - have chosen to attend the weekly

combined religious services because they felt compelled to do so to maintain their designations as

Muslim and to preserve their rights to other religious accommodations, such as participating in the

Ramadan meal program. Mr. Holt, on the other hand, has chosen not to attend the combined religious

services in accordance with his sincerely-held religious beliefs, and as a result, in 2017 was forced to

sacrifice his Ramadan and Eid religious accommodations.

        64.     No other faith traditions, including various denominations of Christianity, are required

to hold combined religious services. No other faith tradition, including Christians, are denied access

to religious accommodations based on not attending religious services.

        65.     Despite over thirty years since the Blue consent decree was entered, Defendants have

failed to hire sufficient part-time Muslim Chaplains to provide group Islamic services for Muslim

inmates across ADOC facilities. The lone Islamic Coordinator ADOC employs cannot practically

provide services to all Muslims in all ADOC facilities. Defendants have also failed to recruit adequate

freeworld Muslim Volunteers to meet the needs of the Muslim inmate population, including leading

]umu'ah services and holding Taleem classes, in violation of their own policies.

        66.     With a lack of Muslim chaplains and freeworld Muslim Volunteers, inmates in each

facility conduct a combined Friday prayer service on their own. However, the combined nature of


    7Ramadan is the ninth month of the Islamic Calendar, which is based on a lunar calendar. Muslims
worldwide observe Ramadan as a month of fasting. This annual observance is regarded as one of the
Five Pillars of Islam. Among other things, while fasting from dawn until sunset, Muslims refrain from
consuming food, drinking liquids, smoking, and sexual relations.


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the service with three faiths participating means that it does not comply with the spiritual requirements

of Islam.

         67.    Plaintiffs have resided in more than a half dozen of the 18 ADOC units, including

Tucker, Grimes, Cummins, Varner, Brickeys, and Calico Rock. To Plaintiffs' knowledge and based

on Plaintiffs' experience, ADOC combines Islamic, NOI, and NGE religious services in all ADOC

units.

         68.    To Plaintiffs' knowledge and based on Plaintiffs' experience, ADOC designates Islam,

NOI, and NGE adherents all as "Muslim" in its internal systems.

         69.    Defendants have similarly denied Plaintiffs and other Muslim inmates similarly

situated access to separate Taleem classes, or religious study classes. Instead, Plaintiffs and other

Muslim inmates may only attend religious study classes that are combined with NOI and NGE.

         70.    Upon information and belief, no other faith tradition, including Christi.ans and Jews,

are denied access to separate religious study classes.

         71.    Defendants can recognize and accomodate the differences between the three faith

traditions, as evidenced by their inconsistent attempts to do so in the past. For example, Defendants

have permitted adherents of NOI to commemorate the Million Man March, a holiday not recognized

by Islam. Defendants have also recently posted a flier in the Tucker Unit which announces an

upcoming "denominational service" for adherents of NOL

         72.    ADOC's deliberate and willful failure to recognize the religious differences between

Islam, NOI, and NGE has caused significant tension and discord among inmate populations that

adhere to Islam, NOI, and NGE across ADOC's facilities.

   The Disparity in Defendants' Provision of Separate Religious Services for Other Faiths

         73.    According to religious services calendars distributed in ADOC facilities, numerous

Christian denominations may participate in a wide variety of weekly services, scripture studies, and


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other religious programming.

        74.      For example, at Tucker Maximum Security Unit, Catholic, Protestant, Jehovah's

Witness, and Seventh-day Adventist religious services are held throughout the month. Buddhist

Dharma talks are also held regularly. Christian Bible studies and other Christian programs are also

held multiple times per week.

        75.      likewise, at the Grimes Unit, at least seven separate Christian denominations currently

hold weekly religious worship services and instruction classes. These include general Christian

services, as well as separate religious services for Baptists, Catholics, Seventh-day Adventists, and

Pentecostals. Christian Bible studies and other Christian programs are also held multiple times per

week.

        76.      Unlike Muslims, Christians do not lose their rights to religious accommodations

necessary to practice their faith if they fail to attend religious services. For example, Christian inmates

can attend special Christmas and Easter meals even if they do not attend Sunday services.

              Defendants' Refusal to Permit Religious Attire in Department Facilities

        77.      As part of their Muslim faith, Plaintiffs have a sincerely held religious belief that Islam

instructs men to wear k,ifis, as an expression of their belief that they should be in a state of constant

prayer and service to God. Yet ADOC policy severely restricts Plaintiffs' wearing of kufis.

        78.      The ADOC Religion Manual provides that "[an] [ijnmate may wear special religious

headdress during religious service[s]. The headdress must not threaten the good order and security of

departmental      operations.    The     headdress        must   be   recognized     by     the    inmate's

denominational/mosque/synagogue/tribe as being essential to a particular sect's religious belief. The

headdress is to be worn in religious service only and kept in inmate's locker when not in use." ADOC

Religion Manual, Policy# 625(C)(1).

        79.      RLUIPA protects "any exercise of religion, whether or not compelled by, or central


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to, a system of religious belief." 42 U.S.C. § 2000cc-5(7)(A). Following the Supreme Court's opinion

in Holt v. Hobbs, 135 S. Ct. 853 (2015), the Fifth Circuit applied Holt to hold that the Texas Department

of Criminal Justice had failed to justify its restrictions on a Muslim inmate wearing a k,efi. Ali v.

Stephens, 822 F.3d 776, 794-797 (5th Cir. 2016).

          80.   Defendants have, without identifying any compelling government interest, prevented

Plaintiffs Holt, Martin, and Stewart, as well as other Muslim inmates similarly situated from wearing

k,efis.

          81.   At one of the ADOC facilities that Plaintiff Stewart resided in, the warden at the facility

exercised his discretion to permit the wearing of religious headwear outside of individual cells,

including in common areas and outside the barracks.

          82.   Upon information and belief, Defendants permit other faith groups to wear religious

articles and religious head coverings outside of their individual cells and religious services.

                Plaintiff Gregory Houston Holt a/k/ a Abdul Maalik Muhammad

          83.   For nearly three years, Plaintiff Holt has repeatedly complained to Defendants

regarding the combined religious services for Islam, NOi, and NGE.

          84.   Plaintiff Holt filed a grievance asking for separate religious services in February 2016

while housed at the Cummins Unit. Plaintiff Holt exhausted that grievance, which was ultimately

denied.

          85.   In 2017, having been transferred to the Tucker Unit, Plaintiff Holt began refusing to

attend the combined religious services in accordance with his sincerely held religious beliefs.

          86.   As a result of Plaintiff Holt no longer attending the combined religious services,

Defendants in 2017 removed Plaintiff Holt from the ]umu'ah Llst, which resulted in his removal from

the Ramadan Llst. Plaintiff Holt did not receive Ramadan meals from Defendants that year, but




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instead survived off of his own food he was able to purchase from the commissary. 8

        87.     In 2018, only upon the intervention of counsel, Defendants agreed to add Plaintiff

Holt to the Ramadan List, although he continued to refuse to attend the combined religious services

on Fridays throughout 2018.

        88.     Plaintiffs Holt also filed a grievance requesting a religious accommodation allowing

him to wear a krefi. Plaintiff Holt exhausted that grievance, which was ultimately denied.

        89.     Plaintiff Holt has exhausted his administrative remedies in accordance with AR 835 -

Grievance Procedure for Offenders.

        90.     Plaintiff Holt reasonably fears that he may be subjected to retaliation for pursuing this

litigation, including by Defendants transferring him out of Tucker Maximum Security Unit.

                                      Plaintiff Rodney Martin

        91.     Plaintiff Martin currently attends the combined religious services at Tucker Maximum

Security Unit in violation of his sincerely-held religious beliefs because he feels compelled to do so to

maintain his designation as a Muslim to preserve his rights to other religious accommodations that he

receives. After those combined religious services, Plaintiff Martin re-performs Friday prayers by

himself, because the religious services he attends do not comply with what his Muslim faith requires.

        92.     Recently, Plaintiff Martin's objections to the combined religious services have become

so strong he has skipped the Friday services, and is considering ceasing attendance altogether. Plaintiff

Martin fears that he will lose his designation as "Muslim" and access to other religious

accommodations if he ceases attending the combined services which violate his faith.

        93.     Plaintiff Martin filed a grievance regarding the combined religious services, which was



    8Ironically, two years prior to the removal of Plaintiff Holt's designation, the United States
Supreme Court granted Plaintiff Holt the right to grow a beard as a religious accommodation in
accordance with his sincere Muslim faith. See Holt v. Hobbs, 135 S.Ct. 853 (2015).


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ultimately denied.

        94.     Plaintiff Martin also filed a grievance requesting a religious accommodation allowing

him to wear a k,ifi. Plaintiff Martin exhausted that grievance, which was ultimately denied.

        95.     Plaintiff Martin has exhausted his administrative remedies in accordance with AR 835

- Grievance Procedure for Offenders.

        96.     Plaintiff Martin reasonably fears that he may be subjected to retaliation for pursuing

this litigation, including by Defendants transferring him out of Tucker Maximum Security Unit.

                                          Plaintiff Wayde Stewart

        97.     Plaintiff Stewart currently attends the combined religious services at Tucker Maximum

Security Unit in violation of his sincerely-held religious beliefs because he feels compelled to do so to

maintain his designation as a Muslim and to preserve his rights to other religious accommodations

that he receives.

        98.     Plaintiff Stewart has filed a grievance regarding the combined religious services.

Plaintiff Stewart exhausted that grievance, which was ultimately denied.

        99.     Plaintiffs Stewart also filed a grievance requesting a religious accommodation allowing

him to wear a kufi. Plaintiff Stewart also exhausted that grievance, which was ultimately denied.

        100.    Plaintiff Stewart has exhausted his administrative remedies in accordance with AR 835

- Grievance Procedure for Offenders.

        101.    Plaintiff Stewart reasonably fears that he may be subjected to retaliation for pursuing

this litigation, including by Defendants transferring him out of Tucker Maximum Security Unit.

                                                 Countl
               Violation of Religious Land Use and Institutionalized Persons Act
                         (Religious Exercise - Separatejumu'ah Services)

        102.    Plaintiffs hereby reallege and incorporate by reference the foregoing paragraphs of this

Complaint as if fully set forth herein.


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        103.    RLUIPA provides that prisons may not "impose a substantial burden on the religious

exercise of a person residing in or confined to an institution" unless the government proves that the

burden furthers "a compelling governmental interest" by "the least restrictive means." 42 U.S.C. §

2000cc-1(a).

        104.    The Fifth Circuit recently recognized that RLUIPA affords adherents of the Nati.on

of Gods and Earth the right to collectively worship separately from Islam. See Tucker v. Collier, 906

F.3d 295 (5th Cir. Oct. 3, 2018).

        105.    Plaintiffs have a sincere religious belief in Islam, including the belief that they should

attend]umu'ah, or Friday prayer services, with individuals who share their faith.

        106.    Defendants refuse to recognize Islam, NOi, and NGE as different faith traditions.

Defendants thus force Muslims to participate in combined religious services with adherents of NOi

and NGE, or forego congregational services altogether. Defendants' actions impose a substantial

burden on Plaintiffs' sincere religious exercise.

        107.    Defendants' imposition of a substantial burden on Plaintiffs' sincere religious exercise

is not in furtherance of a compelling government interest. Separate religious services for Islam, NOi

and NGE could be conducted consistent with the safety of inmates and staff, the good order of the

institution, and accepted correctional practices. Such separate religious services are already conducted

in federal, as well as other state, correctional systems.

        108.    The Supreme Court in Holt v. Hobbs granted Plaintiff Holt's religious request to grow

a beard, holding that ADOC had failed to demonstrate how his beard would imperil safety and

security. As in Holt v. Hobbs, ADOC here has provided insufficient explanation as to why separating

Islam, NOi, and NGE religious services would harm any compelling interest related to ADOC

operations.

        109.    Defendants' forced combination oflslam, NOi, and NGE religious services is not the


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least restrictive means of furthering any governmental interest, compelling or otherwise.

        110.     Defendants have failed to consider alternatives, or to implement less restrictive

measures, regarding their current policy and practice of combining Islam, NOI, and NGE religious

services.

        111.     Defendants are not accommodating the diversity of worship for Islam, NOI, and

NGE religious faith traditions on equal terms to Defendants' accommodations for and provisions of

separate services for other faiths, including Buddhists and several Christian denominations.

        WHEREFORE, Plaintiffs request this Honorable Court grant declaratory relief and injunctive

relief in the form requested in the Prayer for Relief below, in addition to all such other relief this Court

deems just and proper under RLUIPA and 42 U .S.C. §§ 1983 and 1988, including costs and attorneys'

fees in this action.

                                                Count II
       Violation of First and Fourteenth Amendment to the United States Constitution
                         (Religious Exercise -Separatejumu'ah Services)

        112.     Plaintiffs hereby reallege and incorporate by reference the foregoing paragraphs of this

Complaint as if fully set forth herein.

        113.     The First Amendment to the U.S. Constitution provides "Congress shall make no law

respecting an establishment of religion, or prohibiting the free exercise thereof." The Free Exercise

Clause applies with full force and effect to the acts of state and local government entities and officials

pursuant to the Due Process Clause of the Fourteenth Amendment of the U.S. Constitution.

        114.     The Free Exercise Clause protects inmates' right to engage in collective worship. E.g.

Young v. Coughlin, 866 F.2d 567, 570 (2d Cir. 1989) ("We have long held that prisoners should be

afforded every reasonable opportunity to attend religious services.").

        115.     The Free Exercise Clause requires the government to act neutrally when evaluating

and accommodating comparable practices by either comparable faiths or comparable secular entities.


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See generaify, Church of the Lukumi Babaiu Aye, Inc. v. City ef Hiaieah, 508 U.S. 520, 542 (1993) ("The Free

Exercise Clause protects religious observers against unequal treatment.") (internal quotation omitted).

          116.   The Free Exercise Clause prohibits prison officials from denying access to

comparably-available religious accommodations provided to other faiths. See Mt!Je v. Klee, No. 18-

1460, 2019 WL 613732, at *5, *8 (6th Cir. Feb. 14, 2019). Mf!Ye concerned a Michigan prison's failure

to provide equal access to the Eid feast between adherents of Islam and NOL

          117.   The foregoing RLUIPA claim (Count I) is also actionable under the Free Exercise

Clause, because Defendants are burdening Plaintiffs' religious exercise in a manner that is neither

equal nor neutral compared to Defendants' treatment of Christians and other comparable inmate

groups.

          118.   Defendants' policy and practice of combining Islam, NOI, and NGE religious services

prevents Plaintiffs' exercise of religion.

          119.   Defendants' policy and practice of combining Islam, NOI, and NGE religious services

imposes a substantial burden on Plaintiffs' sincere religious exercise.

          120.   Defendants' imposition of a substantial burden on Plaintiffs' sincere religious exercise

is not in furtherance of a compelling government interest. Separate religious services for Islam, NOI,

and NGE could be conducted consistent with the safety of inmates and staff, the good order of the

institution, and accepted correctional practices. Such separate religious services are already conducted

in federal, as well as other state, correctional systems.

          121.   Defendants' imposition of a substantial burden on Plaintiffs' sincere religious exercise

is not rationally related to any penological or government function.

          122.   Defendants' policy and practice of combining Islam, NOI, and NGE religious services

is not the least restrictive means of furthering any governmental interest, compelling or otherwise.

          123.   Plaintiffs have suffered the loss of their First Amendment freedoms by being unable


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to attend religious services that comply with the dictates of their faith, and have thus incurred damages.

        WHEREFORE, Plaintiffs request this Honorable Court grant declaratory, injunctive, and

monetary relief in the form requested in the Prayer for Relief below, in addition to all such other relief

this Court deems just and proper under 42 U.S.C. §§ 1983 and 1988 and the Prison Litigation Reform

Act, 42 U .S.C. § 1997e et. seq., including costs and attorneys' fees in this action.

                                            Count III
               Violation of Religious Land Use and Institutionalized Persons Act
                                   (Religious Exercise - Ku.is)

        124.    Plaintiffs hereby reallege and incorporate by reference the foregoing paragraphs of this

Complaint as if fully set forth herein.

        125.    RLUIPA provides that prisons may not "impose a substantial burden on the religious

exercise of a person residing in or confined to an institution" unless the government proves that the

burden furthers "a compelling governmental interest" by "the least restrictive means." 42 U.S.C. §

2000cc-1(a).

        126.    The Fifth Circuit recently recognized that RLUIPA requires the Texas Department of

Criminal Justice to grant individualized religious accommodations to wear kufts. Ali v. Stephens, 822

F.3d 776, 794-797 (5th Cir. 2016).

        127.    Plaintiffs have a sincere religious belief in Islam, including the belief that they should

wear kufts.

        128.    Defendants' prohibition on Muslim inmates wearing kufts outside of religious worship,

imposes a substantial burden on Plaintiffs' sincere religious exercise.

        129.    Defendants' imposition of a substantial burden on Plaintiffs' sincere religious exercise

is not in furtherance of a compelling government interest. Defendants' could permit Muslim inmates

to wear kufts, consistent with the safety of inmates and staff, the good order of the institution, and

accepted correctional practices.


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          130.   Defendants have failed to consider alternatives, or to implement less restrictive

measures, regarding their current practice of only permitting ktefis during specified religious worship

timeslots.

          131.   Defendants' restrictions on ktefis is not the least restrictive means of furthering any

governmental interest, compelling or otherwise.

          132.   Defendants are not accommodating kufts on equal terms with other religious headwear

and articles of clothing.

          WHEREFORE, Plaintiffs request this Honorable Court grant declaratory relief and injunctive

relief in the form requested in the Prayer for Relief below, in addition to all such other relief this Court

deems just and proper under RLUIPA and 42 U .S.C. §§ 1983 and 1988, including costs and attorneys'

fees in this action.

                                          CountIV
       Violation of First and Fourteenth Amendment to the United States Constitution
                              (Free Exercise of Religion - Ku.is)

          133.   Plaintiffs hereby reallege and incorporate by reference the foregoing paragraphs of this

Complaint as if fully set forth herein.

          134.   The First Amendment to the U.S. Constitution provides "Congress shall make no law

respecting an establishment of religion, or prohibiting the free exercise thereof." The Free Exercise

Clause applies with full force and effect to the acts of state and local government entities and officials

pursuant to the Due Process Clause of the Fourteenth Amendment of the U.S. Constitution.

          135.   The Free Exercise Clause protects inmates' right to wear religious head coverings.

          136.   The foregoing RLUIPA claim (Count III) is also actionable under the Free Exercise

Clause.

          137.   Defendants' restrictions on wearing ktefis prevents Plaintiffs' exercise of religion.

          138.   Defendants' restrictions on wearing ktefis imposes a substantial burden on Plaintiffs'


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sincere religious exercise.

        139.    Defendants' imposition of a substantial burden on Plaintiffs' sincere religious exercise

is not in furtherance of a compelling government interest. Defendants already permit Plaintiffs to

wear kufis in some circumstances, and other penal institutions permit inmates to wear kufis more often.

Defendants also permit other religious headwear and articles to be worn. Defendants could permit

Plaintiffs to wear kufis, consistent with the safety of inmates and staff, the good order of the institution,

and accepted correctional practices.

        140.    Defendants' imposition of a substantial burden on Plaintiffs' sincere religious exercise

by denying them the ability to wear kufis is not rationally related to any penological or government

function.

        141.    Defendants' prohibition on wearing ku.fts is not the least restrictive means of furthering

any governmental interest, compelling or otherwise.

        142.    Plaintiffs have suffered the loss of their First Amendment freedoms by being unable

to wear kujis in compliance with the dictates of their faith, and have thus incurred damages.

        WHEREFORE, Plaintiffs request this Honorable Court grant declaratory, injunctive, and

monetary relief in the form requested in the Prayer for Relief below, in addition to all such other relief

this Court deems just and proper under 42 U.S.C. §§ 1983 and 1988 and the Prison Litigation Reform

Act, 42 U.S.C. § 1997e et. seq., including costs and attorneys' fees in this action.

                                            Prayer for Relief

        WHEREFORE, Plaintiffs request that this Honorable Court enter judgment in their favor

and against Defendants on each and every count in this Complaint, and issue an order awarding the

following relief:

        1.      A declaratory judgment that:

               a.      Islam, Nation of Islam, and Nation of Gods and Earth are different faith


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           traditions;

     b.    Defendants' policies, practices, and customs, including the Department's

           combination of religious services and prohibition of k,ifis, violate the First and

           Fourteenth Amendments to the Constitution of the United States, the Religious

           Land Use and Institutionalized Persons Act of 2000 ("RLUIPA''), and 42 U .S.C.

           § 1983;

     c.    Defendants' actions in preventing Plaintiffs from attending Islamic religious

           services that are separate from Nation of Islam and Nation of Gods and Earth

           religious services prevents and substantially burdens Plaintiffs' free exercise of

           religion;

     d.    Defendants' denial of Plaintiffs' requests for separate Islamic religious services

           is not justified by a compelling government interest;

     e.    Defendants' failure to provide separate religious services for adherents of Islam,

           Nation of Islam, and Nation of Gods and Earth is not the least restrictive means

           of fulfilling a compelling government interest;

     f.    Defendants treat these Plaintiffs and similarly situated Muslim inmates on less

           than equal terms with other religious inmates; and,

     g.    Defendants' actions in preventing Plaintiffs from wearing k,ifis prevents and

           substantially burden Plaintiffs' free exercise of religion;

     h.    Defendants' denial of Plaintiffs' request to wear k,ifis is not justified by a

           compelling government interest;

     i.    Defendants' refusal to permit Plaintiffs to wear k,ifis is not the least restrictive

           means of fulfilling a compelling government interest;

2.    An injunction that:


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              a.     Requires Defendants to classify Islam, Nation oflslam, and Nation of Gods and

                     Earth as separate religious classifications;

              b.     Requires Defendants to grant Plaintiffs and other Muslims the ability to

                     congregate for separate Islamic religious services with other Muslims, and

                     thereby worship separately from the Nation of Islam and Nation of Gods and

                     Earth;

              c.     Requires Defendants to remedy the constitutional and statutory violations

                     identified above, including, but not limited to, modifying or eliminating the

                     existing policies whereby Plaintiffs, and other similarly-situated Muslim inmates,

                     are unable to attend religious services with other Muslims;

              d.     Requires Defendants to grant Plaintiffs and other Muslims permission to wear

                     kujis-,

              e.     Requires Defendants to remedy the constitutional and statutory violations

                     identified above, including, but not limited to, permitting Plaintiffs, and other

                     similarly-situated Muslim inmates, to wear kufis outside of religious worship; and,

              f.     Forbids Defendants from transferring Plaintiffs to another facility for non-

                     disciplinary reasons;

       3.      Monetary damages consistent with 42 U.S.C. §§ 1983 and 1988 and the Prison

Litigation Reform Act, 42 U.S.C. § 1997e et. seq.;

       4.      Attorneys' fees, costs, and expenses of all litigation, pursuant to 42 U .S.C. § 1988; and,

       5.      Such other and further relief as the Court may deem just and proper.




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                                          JURYDHMAND
        NOW COME Plaintiffs, by and through their undersigned counsel, and hereby demand a jury

trial of the above-referenced causes of action so triable.



                                                Respectfully submitted,

Dated: March 1, 2019
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                                                By:: I
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                                                                                         ....
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                                                Attomeysfor Plaintiffs

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                                         VERIPICATION

       Under penalty of perjury, I declare that I have read the foregoing Complaint and the facts

alleged therein are true and correct to the best of my knowledge and belief.



Dated: December ..i., 2018                                                        1tldd/1nvN'-
                                                                    ON HOLT a/k/a A B D U L ~
                                                             J/I\J\_ ...

                                                             ·~•,nu•~-~-. inmate# 129616;
   Case 5:19-cv-00081-BSM Document 1 Filed 03/01/19 Page 30 of 31




                                         VERIFICATION

       Under peoalty of petjiuy, I declare that I have read the foregoing Complaiot and the fact.s

alleged therein are true and correct to the best of my knowledge and belief.



Dated: December     If ,2018                   Br-0~.A~,_
                                               RODNEY ~TIN. ~132396;
   Case 5:19-cv-00081-BSM Document 1 Filed 03/01/19 Page 31 of 31




                                          VERIFICATION

        Under penalty of perjury, I declare that I have read the foregoing Complaint and the facts

alleged therein a.re true and correc:t to the best of my knowledge and belief.


Dated: December    J:l.. 2018
                                                B~U<~
                                                WA        S         ; inmate     5252;
